                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:96-CR-46-7-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 CELESTE INGRAM,                                   )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to Time

Served for the reasons set forth in the Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant who was responsible for the distribution

of 1.5 ounces of crack cocaine during a single controlled buy and whose disciplinary record in prison



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evidences a continued refusal to obey the law, including two citations for fighting.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       a.      That the defendant should receive some benefit from the retroactive application of

               Amendment 706, but that a reduction to Time Served is inappropriate; and

       b.      That a sentence of 166 months is adequate, but no greater than necessary, to

               accomplish the objectives of sentencing, while a further reduction would frustrate

               those objectives.1

       An appropriate Order shall issue separately.

                                                 Signed: August 11, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

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